             Case 2:12-cr-00051-MCE Document 37 Filed 06/19/12 Page 1 of 2


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     VALERI KOLESNIKOV aka
6    Larry Kolivan

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8
                             IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,         )                  Case No.:2:12-CR-51 MCE
12                                     )
                                       )                  ORDER GRANTING A
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                                       )                  COMPETENCY EVALUATION,
                       Plaintiff,      )
                                       )                  COURT CERTIFIED RUSSIAN
14                                                        INTERPRETER, AND ORDER
                        vs.            )
                                       )                  THAT THE DECLARATION OF
15                                     )
     VALENTINA BEKNAZAROV, ANATOLIY                       JULIA M. YOUNG BE SEALED
                                       )                  PURSUANT TO FED. R. CIV.
16   BEKNAZAROV, VALERI KOLESNIKOV aka )
     Larry Kolivan, and VALERI MYSIN,  )                  P. 5.2, 26 AND LOCAL RULE
17                                     )                  141
                                       )
18                     Defendants.

19         GOOD CAUSE APPEARING, it is hereby granted that the Defendant’s Request for a
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     competency evaluation pursuant to 18 U.S.C. § 4241(a) be granted. It is also ordered that a
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     court certified Russian interpreted be provided to assist in the evaluation.
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                                             [PROPOSED] ORDER
                             Case 2:12-cr-00051-MCE Document 37 Filed 06/19/12 Page 2 of 2


1    Additionally, the Declaration of Julia M. Young will be sealed pursuant to Fed. R. Civ. P. 5.2

2    and 26, and Local Rule 141.
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                           IT IS SO ORDERED.
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     Dated: June 19, 2012
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7                                                      __________________________________
                                                       MORRISON C. ENGLAND, JR
8                                                      UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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                                                       [PROPOSED] ORDER
